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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

v. Case No. 1:21-cr-179-RCL
RACHEL MARIE POWELL,

Defendant.

 

ORDER
At the March 18, 2022 status conference, defendant Rachel Marie Powell notified the Court
of her intent to fill a motion to dismiss. The parties are hereby ORDERED to comply with the
below schedule:

Defendant will file her motion to dismiss within thirty (30) days of
this Order;

the government will file any opposition within thirty (30) days after
defendant files her motion; and

defendant will file any reply within fourteen (14) days of receiving
the government’s reply.

IT IS SO ORDERED.

3/ Poe ¢: Zontate
Date: Uf we Royce C. Lamberth

United States District Judge
